
 
Welcome to the Official Site of the Illinois Courts



 











  
  
  
  &nbsp;
  
  
  
  Your browser does not support script
    
  
    
  	
	Loading
	
	
	
    



 

 


     
	   	
		
			
			
						
			
			
			
		 
		  
     



   
 
  
  
  
 




  
    
	
	Quick Links
	
	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2017 Senate Budget Testimony
      &nbsp;&nbsp;&nbsp;Results of 2015 Circuit Court User Survey
	&nbsp;&nbsp;&nbsp;
	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2016 Budget Testimony

	&nbsp;&nbsp;&nbsp;
	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Video to Illinois Problem-Solving Courts
	Supreme Court
		
			Opinions
			Docket
			Anticipated Opinions
			Orders and Announcements
			Leave to Appeal Dispositions
			Rules
			 Oral Argument Calendars
			Oral Argument Audio &amp; Video
			Judicial Events
			Special Matters Before the Court
			Supreme Court Electronic Filing Service
	        Extended Media Coverage
		    Annual Report of the Illinois Courts
	        E-Pay Law License Fee
	    
		
		
	 Appellate Court
		
		    Opinions
		   	Rule 23 Orders
		   	Oral Argument Calendars
		    Oral Argument Audio
		

	 Circuit Court
		
			Chief Judges &amp; Administrative Staff
			Judges &amp; Associate Judges
            Associate Judge 2015 Reappointment Forms
        
	  
		Employment Opportunities
	    Legal Community	


 Supreme Court Rules Committee Public Hearings
  Illinois Pattern Jury Instructions-Civil - 700.12C, 700.12D, 700.12VB, 700.12VC&amp;D, 700.12VD &amp; 700.12VE - created / revised April 2016
  Illinois Pattern Jury Instructions-Criminal - 4.26, 4.27, 4.28, 4.29, 4.30, 4.31, 4.32, 4.33, 4.34 &amp; 4.35 - approved April 13, 2016 
  Bar Admission Ceremonies 
  Illinois Code of Judicial Conduct
  Illinois Rules of Evidence
  Illinois Rules of Professional Conduct of 2010 
  Illinois Supreme Court Historic Preservation Commission 
  Minimum Continuing Legal Education Board (MCLE)
  Commission on Professionalism 
  Attorney Registration Information (ARDC site)
  Rules of Procedure for the Board of Admission to the Bar and the Committee on Character and Fitness (Illinois Board of Admissions to the Bar site)
  Bar Exam &amp;  Admission (Illinois Board of Admissions to the Bar site)
  Resolution Systems Institute  (RSI site) 
  Pro Bono Attorney Information (Illinois Pro Bono site) 
  Standard Interrogatories (Illinois State Bar Association site) 
  Lawyers' Assistance Program (Lawyers' Assistance site)  
  Lawyers Trust Fund (Lawyers Trust Fund of Illinois site) 
  List Services Available 
	


	

	Latest News
	
	





  
  

Chief Justice Rita B. Garman  
welcomes you to the
Illinois Courts Website
(Video Message)

  








 Illinois &amp; U.S. Judiciaries
 		   
  
    
      
      
    
    
      Illinois Court System
      United States Websites 
    
  
  &nbsp;



  Judicial Links &amp; Research


  Illinois Circuit Courts
  Bar &amp; Miscellaneous Associations
  Law Schools in Illinois
  State of Illinois Websites
  U.S. Government Websites
  State University Websites
  Legal Research
  Illinois Amber Alert 
  National Center for Missing &amp; Exploited Children
 

  

Notifications and Services


   
  
 
 
 
  Illinois Courts Twitter Feed: 
  
List Mail Services Page:  
   
	 Translate this page into &nbsp;&nbsp; 
	  
	  
	
	
  Make the Illinois Courts your homepage
    	
	


  E-Business Online Services



    
      
        ELECTRONIC
	  
			
			FILING
			
			
		  	  	  
      E-GUILTY - 
      PLEAD &amp; PAY 
      
        YOUR TRAFFIC TICKET        
        
	          
		  	  	  
    
  
  &nbsp;
  
  Access to Justice


      
  



Citizen Self-Help


           Supreme Court Policy on Access for Persons with Disabilities (Supreme Court only) 
           Petit Juror Handbook
           Grand Juror Handbook
           Consumers' Guide to Legal Help (American Bar Association site) 
           Find 
           an Illinois Attorney (Illinois Lawyer Finder site)
           A Guide to Illinois Civil Appellate Procedure for Self-Represented Litigants
           Illinois 
           Child Support Information (Illinois Child Support site)
           Has my 
           Attorney been disciplined? (ARDC Site)
           Can't Afford a Lawyer? (Illinois Legal Aid site) 
           Becoming an Adult:&nbsp; Legal Rights &amp; Responsibilities at Age 18 (Illinois Lawyer Finder site)
            Parents Guide to Juvenile Court Abuse &amp; Neglect Proceedings (Illinois Lawyer Finder site)
           Laws Protecting Military Personnel  (Illinois Lawyer Finder site)  
      



		 
      
Education


 
   The Third Branch - A Chronicle of the Illinois Supreme Court
           Judicial Education
           Student Learning Center
           About the Courts in Illinois
           Judicial Speakers Bureau
           How Cases Proceed Thru the Courts
           How the Courts are Funded
           U.S. Constitution (Legislative Reference Bureau)  
           Illinois Constitution (Legislative Reference Bureau) 
           Understanding the Illinois Constitution (Illinois State Bar Association site)
           Law Day Information (Illinois State Bar Association site) 
           Mock Trial Resources for Teachers (Illinois State Bar Association site)
       
 &nbsp;
  






State of Illinois |
Privacy Notice | Endorsement Notice | Webmaster












  










Your browser does not support script





  







